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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11
BORDEN DAIRY COMPANY, et al., Case No. 20-10010 (CSS)
Debtors. ! (Jointly Administered)

Ref. Docket Nos. 13 and 14

 

 

INTERIM ORDER (A) AUTHORIZING USE OF CASH COLLATERAL, FOR AN

INTERIM PERIOD, (B) GRANTING ADEQUATE PROTECTION, (C) AUTHORIZING
USE OF RESERVE ACCOUNT CASH, (D) SCHEDULING A SECOND HEARING, AND

(E) GRANTING RELATED RELIEF

 

Upon the motion (the “Motion”)’ of the above-captioned debtors and debtors and debtors-

in-possession (collectively, the “Debtors”) for entry of an interim order (this “Interim Order”)

and a Final Order, pursuant to sections 105, 361, 362, 363, 506(a), 507(b), 552 and 553 of chapter

Il of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 4001, 6003, 6004,

7062 and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rules 2002-1(b), 4001-2 and 9013-1(m) of the Local Rules of Bankruptcy Practice and Procedure

 

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The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Borden Dairy Company (1509); Borden Dairy Holdings, LLC (8504); National Dairy, LLC (9109);
Borden Dairy Company of Alabama, LLC (5598); Borden Dairy Company of Cincinnati, LLC (1334); Borden
Transport Company of Cincinnati, LLC (3462); Borden Dairy Company of Florida, LLC (5168); Borden Dairy
Company of Kentucky, LLC (7392); Borden Dairy Company of Louisiana, LLC (4109); Borden Dairy Company
of Madisonville, LLC (7310); Borden Dairy Company of Ohio, LLC (2720); Borden Transport Company of Ohio,
LLC (7837); Borden Dairy Company of South Carolina, LLC (0963); Borden Dairy Company of Texas, LLC
(5060); Claims Adjusting Services, LLC (9109); Georgia Soft Serve Delights, LLC (9109); NDH Transport, LLC
(7480); and RGC, LLC (0314). The location of the Debtors’ service address is: 8750 North Central Expressway,
Suite 400, Dallas, Texas 75231.

Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Motion.

 

 
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of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), seeking,
among other things:

(a) authorization for the Debtors to use Cash Collateral (as defined herein), and any
proceeds thereof, for an interim period;

(b) authorization for the Debtors to use the proceeds of the Reserve Account (as defined
in the Motion) (the “Reserve Account Cash”), for an interim period;

(c) authorization to grant, as of the Petition Date (as defined herein), the Adequate
Protection Superpriority Claims and Adequate Protection Liens (each as defined herein), to the
extent of and as compensation for any Diminution in Value (as defined herein), and to make the
Adequate Protection Payments (as defined herein);

(d) modification by the Court of the automatic stay imposed by section 362 of the
Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of
this Interim Order and the Final Order;

(e) the scheduling of a final hearing (the “Final Hearing”) to consider entry of an
Order granting the relief requested in the Motion for a second interim period;

() waiver of any applicable stay (including under Bankruptcy Rule 6004) and
providing for the immediate effectiveness of this Interim Order;

and due and appropriate notice of the Motion and the interim hearing held before the Court
on January 8, 2020 (the “Interim Hearing”) to consider entry of this Interim Order having been
provided by the Debtors; and it appearing that no other or further notice need be provided; and the
Court having reviewed the Motion; and upon the record made by the Debtors in the Motion, in the
Declaration of Jason Monaco in Support of Chapter 11 Petitions and First Day Motions (the

“First Day Declaration’) [Docket No. 15], the Declaration of Sarah Gryll [Docket No. 14] and

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at the Interim Hearing; and the relief requested in the Motion being reasonable, appropriate and in
the best interests of the Debtors, their creditors, their estates and all other parties in interest in these
Chapter 11 Cases (as defined herein); and the Court having determined that the relief requested in
the Motion is necessary to avoid immediate and irreparable harm to the Debtors and their estates;
and the Court having determined that the legal and factual bases set forth in the Motion establish
just cause for the relief granted herein; and after due deliberation and sufficient cause appearing
therefor.

THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND
CONCLUSIONS OF LAW:?

A. Disposition. The relief requested in the Motion is hereby granted on an interim
basis, on the terms set forth below. Any objections to the Motion that have not been withdrawn,
waived or settled, and all reservations of rights included therein, are hereby denied and overruled
on the merits. This Interim Order shall become effective immediately upon its entry.

B. Petition Date. On January 5, 2020 (the “Petition Date”), each of the Debtors filed
a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”
with this Court.

C. Debtors in Possession. The Debtors continue to operate their businesses and
manage their properties as debtors and debtors in possession pursuant to sections 1107(a) and 1108
of the Bankruptcy Code. No party has requested the appointment of a trustee or examiner in these
Chapter 11 Cases, and no committees have been appointed or designated at this time.

D. Jurisdiction and Venue. This Court has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

 

* In accordance with Bankruptcy Rule 7052, any proposed finding of fact more properly classified as a proposed

legal conclusion shall be deemed as such, and any proposed conclusion of law more properly classified as a
proposed factual finding shall also be deemed as such.

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District Court for the District of Delaware, dated F ebruary 29, 2012. Consideration of the Motion
constitutes a core proceeding under 28 U.S.C. § 157(b)(2). The Court may enter a final order
consistent with Article III of the United States Constitution. Venue is proper pursuant to 28 U.S.C.
§§ 1408 and 1409. The predicates for the relief sought are sections 105, 361, 362, 363, and 507 of
the Bankruptcy Code, Bankruptcy Rules 2002, 4001 and 9014, and Local Rule 4001-2.

E. Committee Formation. As of the date hereof, no official committee of unsecured
creditors (with any other statutory committee, a “Committee”) has been appointed in the Chapter
11 Cases.

F. Notice. On the Petition Date, the Debtors filed the Motion with the Court pursuant
to Bankruptcy Rules 2002, 4001 and 9014, and provided notice of the Motion and the Interim
Hearing in accordance with the provisions of Local Rule 901 3-1(m) to: (a) the Office of the United
States Trustee for the District of Delaware, (b) the holders of the thirty (30) largest unsecured
claims against the Debtors on a consolidated basis, (c) the Office of the United States Attorney
General for the District of Delaware, (d) the Internal Revenue Service, (e) the Securities and
Exchange Commission, (f) financial institutions at which the Debtors maintain deposit accounts,
(g) counsel to ACON Dairy Investors, L.L.C., (h) counsel to New Laguna, LLC, (i) counsel to the
Agent, RCF Facility Lenders, and Term Loan A Facility Lenders, (j) counsel to the Term Loan B
Facility Lenders, (k) all other parties asserting a lien on or a security interest in the assets of the
Debtors to the extent reasonably known to the Debtors, and (1) any other party entitled to notice
pursuant to Local Rule 9013-1(m). Given the nature of the relief sought in the Motion, the Court
concludes that the foregoing notice constitutes due, sufficient and appropriate notice under the
circumstances and complies with section 102( 1) of the Bankruptcy Code, Bankruptcy Rules 2002

and 4001(b) and (d), and the Local Rules.

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; ectively, the
G . —& = Cash Collateral. For purposes of this Interim Order, the term “Cash

Collateral” shall be deemed to include, without limitation, all of each Debtor’s “Cash Collateral”

as defined under section 363 of the Bankruptcy Code, altdepositS sibjectto setoffamdcastrarising

 

in which the Prepetition Secured Parties have valid, perfected security interests, liens or mortgages,

regardless of whether such security interests, liens, or mortgages existed as of the Petition Date or
arise thereafter pursuant to this Interim Order.

LH. ~€ry = Prepetition Credit Facility. On July 6, 2017, Borden, as borrower, the other
Loan Parties as defined in the Credit Agreement (as defined herein) party thereto (together with
Borden, the “Loan Parties”), each of the lenders from time to time party thereto (the “Lenders’”’),
the L/C Issuer (as defined in the Credit Agreement), and PNC Bank, National Association
(“PNC”), as administrative agent and collateral agent (in such capacity, the “Collateral Agent,”
and in such capacities, collectively, the “Agent,” and together with the Lenders and the L/C Issuer,
the “Prepetition Secured Parties”), entered into that certain Financing Agreement (as amended,
modified, restated, amended and restated, and/or supplemented from time to time, the “Credit
Agreement” and, collectively with all agreements, documents, notes, mortgages, security
agreements, pledges, guarantees, subordination agreements, deeds, instruments, indemnities,
indemnity letters, fee letters, assignments, charges, amendments, and any other agreements
delivered pursuant thereto or in connection therewith, including the “Loan Documents” as such

term is defined in the Credit Agreement, the “Prepetition Loan Documents”), which provided

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the Debtors with a $275 million credit facility (the “Credit Facility”). The Credit Facility consists
of: (a) a $70 million revolving credit facility (the “RCF Facility,” and such loans thereunder, the
“Revolving Loans”), which includes a $25 million subfacility for the issuance of letters of credit
(“Letters of Credit”), (b) a $30 million term loan A facility (the “Term Loan A Facility,” and
such loans thereunder, the “Term Loan A Loans”), and (c) a $175 million term loan B facility

(the “Term Loan B Facility”). All indebtedness, liabilities, and obligations under the Prepetition

Loan Documents, specifically including all “Obligations” as defined in the Credit Agreement, are

 

referred to herein as the “Prepetition Secured Obligations.” Each of the Prepetition Loan
Documents is valid, binding, and, subject to applicable bankruptcy law, enforceable against the
Loan Parties and such other Debtor subsidiaries and affiliates party to any Prepetition Loan

Documents (collectively, the “Obligors”’).

  
   

 
 
 
 
 
 
 
 
 
  
 
  
 
  
 

(iii) | PrepetiNion Secured Obligations./As of the Petition Date, the Loan Parties
were justly and lawfully indebted and liable under fhe Prepetition Loan Documents, without
defense, counterclaim, reduction ok offset of any kjnd, in the aggregate principal amount of not
less than (A) $269,599,876.75 in respect of loans/and other financial accommodations made by
the Lenders, comprised of $56,669,753\00 of principal amount of loans outstanding under RCF
Facility, $24,125,000.00 of principal amoukt offoans outstanding under the Term Loan A Facility,
$175,000,000 of principal amount of loans outstanding under the Term Loan B Facility, (B)
$12,605,123.75 in respect of certain letter¢ of credit issued by the L/C Issuer (as defined in the
Credit Agreement), under a $25 million spibfacility \nder the RCF Facility, and (C) $1,200,000.00
in respect of credit card obligations and other Bank Pkoduct Obligations (as defined in the Credit
Agreement) owed to Bank Product Providers (as defin:

in the Credit Agreement), pursuant to,

and in accordance with, the Credit Agreement and other Prehetition Loan Documents, plus accrued

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Prepetition Loan Documents, the Prepetition Secufed Obligations are secured by, among other
things, first priority lfens and mortgages on, secuyity interests in, and assignments and pledges of
(collectively, the “Prepetition Liens’), all of the Loan Parties’ right, title, and interest in the Loan
Parties’ property (to the extent provided in and as more fully described in the Prepetition Loan
Documents, the “Prepetitioh Collateral”), subject to any other valid, perfected and unavoidable
lien or security interest otherWise existing ds of the Petition Date that is senior to the security
interest of the Prepetition Secured Parties, /to the extent such liens or security interests are valid,
perfected and unavoidable liens or Security interests existing as of the Petition Date and otherwise
senior to the Prepetition Liens as of the Petition Date (collectively, the “Prepetition Permitted

Liens” and each a “Prepetition Permitted Lien’).

    
  
    
    
 

(v) Validity of Pr@petitign Liens and Prepetition Obligations. The Prepetition

Liens are (a) valid, binding, perfected, duly recorded and enforceable liens on, and security

interests in, all of the Loan Partie right, title, and interest in, and to, the Prepetition
Collateral, and (b) not subject to, pursuant to the Rankruptcy Code or other applicable law (foreign
or domestic), avoidance, disallowance, reductior, recharacterization, recovery, subordination
(whether equitable, contractuAl, or otherwise), attaghment, offset, recoupment, counterclaim,
defense, “claim” (as definedfin the Bankruptcy Code), \npairment, or any other challenge of any

kind by any person or entity. Each Debtor irrevocably reldases and waives, for itself and its estate,

any right to challenge or/contest in any way the scope, extet, perfection, priority, validity, non-

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avoidability, or enfordeability of the Prepetition Liens pr the validity, or enforceability of the
Prepetition Loan Documents or the validity, enforgeability, or priority of payment of the
Prepetition Secured ObNgations, and forever relefses and waives, any claims, objections,
challenges, counterclaims\ causes of action, defenses, setoff rights, obligations, rights to
subordinate, or any other liabilities, whether arisfng in equity or under the Bankruptcy Code or
applicable nonbankruptcy law against the Prep¢tition Secured Parties, or any of their respective
affiliates, agents, attorneys, condultants, advisoys, professionals, officers, directors, and employees
from the beginning of time through the Petition Date. The Prepetition Liens were granted to the
respective Prepetition Secured Part\es for fa{r consideration and reasonably equivalent value, and
were granted in consideration of tht makfng and/or continued making of loans, commitments,
and/or other financial accommodation  ufder the Prepetition Loan Documents. No portion of the
Prepetition Secured Obligations or ang payments made to the Prepetition Secured Parties or
applied to or paid on account of the obfigations owing under the Prepetition Loan Documents prior
to the Petition Date is subject to any contest, attack, rejection, recovery, recoupment, reduction,
defense, counterclaim, offset, subgrdination,\recharacterization, avoidance, or other claim, cause
of action, or other challenge of ary nature unde\the Bankruptcy Code or applicable nonbankruptcy
law.

(vi) Agreement Among Lenders \That certain Agreement Among Lenders, dated
as of July 6, 2017 (as anjended, restated, amenddd and restated, supplemented, or otherwise
modified, the “AAL”), by and between the Agent and\Lenders and accepted and agreed to by the
Loan Parties, governs, among other things, the relativd rights and obligations of the Agent and
Lenders with respect Ao certain aspects of the Prepetitiog Secured Obligations and Prepetition

Collateral. Pursuant to section 510 of the Bankruptcy Chde, the AAL is binding, valid, and

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enforceable in accordance with its teryfs aud shall not be amended, altered, or modified by the
terms of this Interim Order.

L _ evity «Adequate Protection for the Prepetition Secured Parties. As a result of the
authorization for the Debtors’ use of Cash Collateral, the Prepetition Secured Parties are entitled
to receive adequate protection pursuant to sections 361, 362, and 363 of the Bankruptcy for any

diminution in the value, from and after the Petition Date, of their interests in the-Prepetitron—

—Collateral_Grehiding the Cash Collateralfesulting from the automatic stay and/or from the

of
Debtors’ use, secio-ox_lease_of she Prepaition Collatetal Giacludiog (ine Cash Collateral}—er-

-otherwise-during-the- Chapter 1+-Cases. As adequate protection, the Prepetition Secured Parties

will receive the adequate protection described in this Interim Order (including the adequate

protection set forth in Paragraph 4 hereof). Inlight of suct adequate protection, the Prepetition

 

conditionsset-forth-inctihishrterima—Order, The adequate protection provided herein and other
benefits and privileges contained herein are consistent with and authorized by the Bankruptcy

Code and are necessary to obtain such consent.

    
  
   
  

(viii) Section 552(d,; Section 596(c). Subject to entry of the Final Order, the

Prepetition Secured Parties are entitled tha waiver of (a) any “equities of the case” exception under
section 552(b) of the Bankruptcy Code an (b) the Debtors’ right to surcharge the Prepetition
Collateral pursuant to section 506(cf of the Ba ptcy Code.

J, At Necessity of Relief Requested. Good cause has been shown for the entry of this
Interim Order. The Debtors have an immediate need to use Cash Collateral and Reserve Account

Cash to, among other things, fund the orderly continuation of their businesses, maintain the

confidence of their customers and vendors, pay their operating expenses, and preserve their going-

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concern value, consistent with the Budget. In the absence of the availability of such liquidity in
accordance with the terms hereof, the continued operation of the Debtors’ businesses would not be
possible, and serious and irreparable harm to the Debtors, their estates and their creditors would
occur. The terms for the Debtors’ use of Cash Collateral and the Reserve Account Cash pursuant
to this Interim Order are fair and reasonable, reflect the Debtors’ exercise of prudent business
judgment consistent with their fiduciary duties, and constitute reasonably equivalent value and fair
consideration. The Debtors have requested entry of this Interim Order pursuant to Bankruptcy Rule
4001(b)(2) and (d). Absent granting the relief sought by this Interim Order, the Debtors’ estates
would be immediately and irreparably harmed. The use of Cash Collateral in accordance with this
Interim Order is therefore in the best interest of the Debtors and their estates, their creditors and
other parties in interest.
aT. K Use of Cash Collateral. All Cash Collateral, all proceeds of the Prepetition
Collateral, and the Reserve Account Cash shall only be used for: (i) working capital; (ii) other
general corporate purposes of the Debtors; (iii) the satisfaction of the costs and expenses of
administering the Chapter 11 Cases, including, without limitation, payment of any prepetition
obligations that are necessary to preserve the value of the Debtors’ estates to the extent approved
by the Court; and (iv) Adequate Protection Payments, and for no other purpose, and shall only be
used and/or applied in accordance with the terms and conditions of this Interim Order, including,
without limitation, the Budget.
A. Ls Need for Immediate Entry of this Interim Order. The Debtors have requested
immediate entry of this Interim Order pursuant to Bankruptcy Rule 4001(b)(2). The permission
granted herein to use Cash Collateral (and provide adequate protection therefor) and Reserve

Account Cash is necessary, essential, and appropriate to avoid immediate and irreparable harm

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to the Debtors. The Court concludes that entry of this Interim Order is in the best interests of
the Debtors’ estates and creditors as its implementation will, among other things, allow the
Debtors to preserve and maintain the value of their assets and businesses and enhance the
Debtors’ prospects for a successful reorganization.

Based upon the foregoing findings and conclusions, and upon the record made before the
Court at the Interim Hearing, and good and sufficient cause appearing therefor,

IT IS HEREBY ADJUDGED AND ORDERED that:

1. Motion Granted. The Motion is granted on an interim basis in accordance with
the terms and conditions set forth in this Interim Order. Any objections to the Motion with respect
to entry of this Interim Order to the extent not withdrawn, waived or otherwise resolved, and all
reservations of rights included therein, are hereby denied and overruled.

2. Authorization to Use Cash Collateral. The Debtors are authorized to use Cash
Collateral as set forth in this Interim Order commencing from the Petition Date through and
including (but not beyond) any Termination Date (as defined herein), subject to the terms and

conditions of this Interim Order and solely in accordance with the 13-week cash flow forecast of

cash receipts and disbursements of the Debtors on a consolidated basis for the period commencing

 

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3. Authorization to Use Reserve Account Cash. The Debtors are authorized, but
not directed, to liquidate the securities in the Reserve Account and to deposit $10,000,000 into the
Debtors’ operating account held at PNC, subject to the Agent’s lien. The Debtors are authorized
to use the Reserve Account Cash, subject to the terms and conditions of this Interim Order and in
accordance with the Budget. PNC is authorized to rely on the provisions of this Interim Order in

taking any direction from the Debtors with respect to the liquidation of any securities held in the

Reserve Account and the use of the Reserve Account Cash. The-Prepetition-Seenred-Parties sfiall

 

withouttimitatier;tre-Debtors’ use-ofthe Reserve AccenntEash. Notwithstanding the use of the

Reserve Account as provided herein, the Agent and the other Prepetition Secured Parties reserve
any and all of their respective rights with respect to the Reserve Account.

4. Adequate Protection for the Prepetition Secured Parties.

(a) Subject only to the terms of this Interim Order, pursuant to sections 361, 362,
363(c)(2), and 363(e) of the Bankruptcy Code aadin-consideration-of the stipulations and-eonsents~
set-forth-hereifi, as adequate protection for and solely to the extent of any diminution in the value,
from and after the Petition Date, of the Prepetition Secured Parties’ interests in the Prepetition

-~Cobatera+tincindmrg Cash Coltateralf (Diminution in Value”) resulting from: (i) any postpetition

use of Cash Collateral;

 

~atherwise of the Prepetition-Collateral, and-Gii}theimposition of the altommatie-stey (the “Adequate

Protection Obligations”), the Debtors hereby grant to the Agent, for the benefit of the Prepetition
Secured Parties, an additional and replacement valid, binding, enforceable, non-avoidable, and

automatically perfected, nunc pro tunc to the Petition Date, postpetition security interest in and lien

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(the “Adequate Protection Liens”) on all of the right, title and interest of the Debtors and their
“estates” (as created pursuant to section 541(a) of the Bankruptcy Code) in, to, and under all property
and rights and interests in property of each of the Debtors of any kind or nature whatsoever in
existence as of the Petition Date as well as thereafter created or acquired, and wherever located,
including without limitation, (a) all Prepetition Collateral, (b) all accounts and accounts receivable,
inventory, chattel paper, equipment, fixtures, machinery, commercial tort claims, deposit accounts,
instruments, documents, cash and cash equivalents, investment property (including without
limitation all equity interests in subsidiaries), books and records, patents, trademarks, trade names,
copyrights, rights under license agreements and all other intellectual property, rights, rebates,
refunds, other claims under and with respect to insurance policies, tax refunds, deposits, rebates,
contract rights and other general intangibles, software, letter of credit rights, money and
intercompany claims or receivables (whether or not evidenced by notes) at any time owing to each
Debtor, the Reserve Account, and the Reserve Account Cash, (c) all real property, leaseholds, rents
and profits and proceeds thereof; (provided, however, that as to a lien on all fee, leasehold, and
other real property interests and the proceeds thereof: (i) with respect to non-residential real
- property leases, no liens or encumbrances shall be granted or extended to such leases under this
Interim Order, except as permitted by the applicable lease or pursuant to applicable law, but if any
such restriction applies, liens shall then be deemed to extend only to the economic value of
proceeds of any sale or other disposition of, and any other proceeds or products of, such leasehold
interests; and (ii) should any Lender’s internal regulatory or compliance requirements require the
completion of either or both flood due diligence and obtaining evidence of applicable flood
insurance with respect to any real property or leasehold interest, then until completion of such

flood due diligence, the Agent shall be deemed to have obtained a lien only on the economic value

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of, proceeds of any sale or other disposition of such real property interests), (d) if not otherwise
described, all of the property or rights in property identified as Collateral (as defined in the Credit
Agreement), (e) (i) all causes of action (other than Avoidance Actions, as defined below) whether

pursuant to federal or applicable state law, and the proceeds thereof and property received thereby

whether by judgment, settlement, or otherwise, re T Tder, a Tm ail

 

Bankruptcy Cocte-eoheetively“Avondance Actions) of the Debtors or their estates and proceeds

thereof, and (f) as to all of the foregoing, all rents, issues, products, proceeds (including insurance
policies), and profits of, from, or generated by any of the foregoing (collectively, the “Collateral”),
without the necessity of the execution by the Debtors (or recordation or other filing) of security
agreements, control agreements, pledge agreements, financing statements, mortgages, or other
similar documents. The Adequate Protection Liens are subject or subordinate only to the Carve-Out.

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ércompany claim, whether secured or
unsecured, of any Debtor or any dom€Stic or foreign subsidiary or affiliate-efLany Debtor, or (z) any
other lien or-security interest under Bankruptcy Code sections 361 or 363 or otherwise except as

Cxpressty provided irthrs-tnterm-Order

    
 
 

(b) Adequate Protection Superprioytty Claims. The Agent, for the benefit of itself
and the other Prepetition Secured Parttes, is fhereby granted, subject only to the Carve-Out, an
allowed superpriority administrative pense claim (each an “Adequate Protection
Superpriority Claim” and, collectivel dequate Protection Superpriority Claims’) as

provided for in section 507(b) of the/Bankruptcy\Code, payable from and having recourse to all

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prepetition and postpetition\property of the Debtors and all pyoceeds thereof, including proceeds
of Avoidance Actions or propdyty recovered under such Avgidance Actions whether by judgment,
settlement, or otherwise. Subj\ct only to the Carve-fit, and except as provided below, the
Adequate Protection Superpriority Claims shall have prfority over any and all other administrative
expenses pursuant to the Bankruptcy\Code (including the kinds specified in or arising or ordered
pursuant to sections 105(a), 326, 328, 330, 331, 503{b), 506(c) (subject to entry of the Final Order),
507, 546(c), 552(b) (subject to entry of the Finaf Order), 726, and 1114 of the Bankruptcy Code
or otherwise, whether or not such expenses\pr/claims may become secured by a judgment lien or
other nonconsensual lien, levy, or attachmefit) and all other claims against the Debtors or their
estates in any of the Chapter 11 Cases or

y C&se(s) or any subsequently converted bankruptcy

case(s) of any Debtors (collectively, the/“Successor Cases”), at any time existing or arising, of
any kind or nature whatsoever. The Adequate Protecon Superpriority Claim shall be against each
Debtor on a joint and several basis d shall be payabl& from and have recourse to the Collateral.
Other than the Carve-Out, no cos/ or expense of administration of the Chapter 11 Cases shall be
senior to, or pari passu with, apy of the Adequate Protectida Superpriority Claims.

J d L Adequate Protection Payments. The respective Prepetition Secured Parties shall,
as set forth below, receive from the Debtors the following payments (collectively, the “Adequate
Protection Payments”): the Debtors shall pay in full, in cash and in immediately available funds,
as and when such payments would have come due under the Credit Agreement had the Chapter 11
Cases not been commenced, all interest, fees, and other amounts (other than principal), as

applicable, which shall accrue and be payable at the default contract rate and at the times provided

for in the Prepetition Loan Documents.

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(c) Jay. —- Payment of Fees and Expenses. As further adequate protection, the Debtors shall
pay in cash, without the need for the filing of formal fee applications: (i) immediately upon entry
of this Interim Order, the reasonable professional fees, expenses, and disbursements (including,
but not limited to, the fees, expenses, and disbursements of counsel and third-party consultants,
including financial advisors and auditors) incurred by the Agent under the Prepetition Loan
Documents arising prior to the Petition Date, (ii) the reasonable professional fees, expenses, and
disbursements (including, but not limited to, the fees, expenses, and disbursements of counsel and
third-party consultants, including financial advisors and auditors) incurred by the Agent under the
Prepetition Loan Documents arising subsequent to the Petition Date; and (iii) any other fees, costs,
and expenses incurred by the Agent under the Prepetition Loan Documents (the “Adequate
Protection Fees”). All payments of professional fees, expenses and disbursements authorized
under this Paragraph 4(d) shall be made within ten (10) days (which time period may be extended
by the applicable professional) (the “Review Period”) after receipt by the Debtors, any Committee
and the U.S. Trustee of invoices therefor (the “Invoiced Fees”) and without the necessity of filing
formal fee applications. The invoices for such Invoiced Fees shall include the total aggregate
number of hours billed and a summary description of services provided and the expenses incurred
by the applicable professional; provided, however, that any such invoice may be redacted to protect
privileged, confidential or proprietary information. The Debtors, the Committee and the U.S.
Trustee may object to any portion of the Invoiced Fees (the “Disputed Invoiced Fees”) within the
Review Period by filing with the Court a motion or other pleading, on at least ten (10) days’ prior
written notice to the Agent of any hearing on such motion or other pleading, setting forth the
specific objections to the Disputed Invoiced Fees. The Debtors shall pay (i) any Invoiced Fees

that are not Disputed Invoiced Fees within five (5) business days after expiration of the Review

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Period; and (ii) any Disputed Invoiced Fees within five (5) business days after approval by the
Court by a final order requiring payment of any previously Disputed Invoiced Fees.
Notwithstanding anything herein to the contrary, the Debtors reserve the right to argue that, to the
extent that any cash payment made hereunder as adequate protection to the Prepetition Secured
Parties is not allowed under section 506(b) of the Bankruptcy Code, such payment should be
recharacterized and applied as payment of principal amounts owed under the Credit Agreement
and shall be applied against (but does not in any way modify the rights of the Agent and the Lenders
under the AAL) the Prepetition Secured Parties’ prepetition secured claims accordingly.

J3C d) Without limiting any other provisions of this Interim Order, any and all Adequate
Protection Payments that remain unpaid shall be paid in full in cash on the effective date of the
Debtors’ confirmed chapter 11 plan.

rca (e) Adequate Protection Reservation. The receipt by the Prepetition Secured Parties of
the adequate protection provided herein shall not be deemed an admission that the interests of the
Prepetition Secured Parties are adequately protected. Further, this Interim Order shall not prejudice
or limit the rights of the Prepetition Secured Parties to seek additional relief with respect to the use
of Cash Collateral or for additional adequate protection, without prejudice to the Debtors’ rights to
contest the seeking of such relief by the Prepetition Secured Parties. Each of the Debtors shall be
jointly and severally liable for the Adequate Protection provided for herein.

5. Lien Grant to Secure Bank Product Obligations. To secure the prompt payment and
performance of the Bank Product Obligations (as defined in the Credit Agreement) of Loan Parties
to PNC of whatever kind, nature, or description, absolute or contingent, now existing or hereafter
arising, pursuant to Bankruptcy Code sections 364(c) and (d), PNC shall have and is hereby granted,

effective nunc pro tunc as of the Petition Date, valid, binding, enforceable, continuing, non-

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avoidable and perfected first priority, security interests and liens in and upon (such security
interests and liens collectively, “Bank Product Liens”) the Collateral.

(a) Use of Bank Products. The Loan Parties are authorized to continue to use the
Bank Products (defined in the Credit Agreement) and incur related Bank Product Obligations in the
ordinary course of business solely to the extent contemplated by, and in accordance with, the Budget,
and under the terms of the Bank Product Agreements (defined in the Credit Agreement), the
Prepetition Loan Documents, and this Interim Order.

6. Effect oX Stipulations on Third Parties.

  
    
  
 

 

(a) Genedally. The Debtors Have admitted, stipulated, and agreed to the various
stipulations and admissions\contained in t is Interim Order, including, without limitation, the
stipulations and admissions included in P agraph G (the “Stipulations”, which stipulations and
admissions are and shall be bindiny upod the Debtors and any successors thereto (other than with
respect to a successor Trustee appoikfed before the expiration of the Initial Challenge Period,
which successor Trustee shall be béund by the Stipulations upon expiration of the Challenge
Period, as provided in this paragfaph) in ¥ll circumstances. The stipulations and admissions
contained in this Interim Order, iftcluding without limitation, the Stipulations, shall also be binding
upon the Debtors’ Estates and All other parties in ixterest, including the Committee or any chapter
7 or chapter 11 trustee appofnted or elected for any 0 the Debtors (a “Trustee’”’), for all purposes
unless (a) (i) any party infnterest other than the Committee, no later than the date that is seventy
five (75) days from entry of the Interim Order, and (ii) the Cemmittee, no later than sixty (60) days
from the appointmefit of the Committee (as applicable for\clauses (i) and (ii), the “Tnitial

has properly filed an adversary proceeding a equired under the Bankruptcy

Rules (x) challgénging the amount, validity, enforceability, priority yr extent of the Prepetition

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Secured Obligations, the liens of the Agent on the Prepetition Collateral securing the Prepetition
Secured Obligatigns, or (y) otherwise asserting any other clafms, counterclaims, causes of action,
objections, contest§ or defenses against the Agent and/or ghy other Prepetition Secured Party on
behalf of the DebtorsX Estates ((x) and (y), collectively, eferred to herein as “Challenges”), and
(b) the Court rules in faXor of the plaintiff sustaining afty such challenge or claim in any such duly
filed adversary proceedikg or contested matter; frovided, that, as to the Debtors, all such
Challenges are hereby irrevgcably waived and refinquished effective as of the Petition Date. If

during the Initial Challenge Péxiod, the Commitee or other third party files a motion for standing

 

with a draft complaint identifying and describing all Challenge(s) consistent with applicable law
and rules of procedure, the Initial Qhallenge Period will be tolled for the Committee or other third
party solely with respect to the Challange(s asserted in the draft complaint until three (3) business
days from the entry of an order granting the motion for standing to prosecute such Challenge(s)
described in the draft complaint and perthitted by the Court (the “Extended Challenge Period,”
together with the Initial Challenge Pfriod, the “Challenge Period”). If standing is denied by the
Court, the Challenge Period shall Ye deemed to have expired.

(b) Binding Effect. Subject to kntry of the Final Order, if no such Challenge or
motion for standing, as appligable, is timely filed\prior to the expiration of the Initial Challenge
Period, without further ordef of the Court: (1) the D ebtors’ stipulations, admissions and releases
contained in this Interim Grder (including the Stipulations and the releases set forth in Paragraph
7 below) shall be binding on all parties in interest, including the Debtors’ Estates, the Committee,
and any subsequently appointed Trustee, case fiduciary, or successors and assigns; (2) the
Prepetition Secured Obligations shall constitute allowed claims, not subject to counterclaim,

setoff, subordinatjon, recharacterization, defense or avoidance, for all purposes in these Chapter

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11 Cases an any subsequent chapter 7 case; (3) the Afent’s liens on the Prepetition Collateral
shall be deem&d to have been, as of the Petition Date,/to be, legal, valid, binding, perfected, and
with the priority specified in the Stipulationg, not subject to defense, counterclaim,
recharacterization, Subordination or avoidance; and (4) the Prepetition Secured Parties (and their
respective agents, affikates, subsidiaries, directory, officers, representatives, attorneys or advisors)
shall not be subject to \ny other or further challenge by any Committee or any other party in
interest, and any such Corkmittee or party in interest shall be enjoined from seeking to exercise
the rights of the Debtors’ Esiates, including ithout limitation, any successor thereto (including,
without limitation, any estate lepresentatiye or a Trustee, whether such Trustee is appointed or
elected prior to or following the pxpiratign of the Initial Challenge Period); provided, that if the
Chapter 11 Cases are converted to dhaptgr 7 or a Trustee is appointed prior to the expiration of the
Initial Challenge Period, any such estgfe representative or Trustee shall receive the full benefit of
the later of (a) the expiration of the n itial Challenge Period and (b) thirty (30) days from the
appointment of such estate represenjativa or Trustee, subject to the limitations described herein.
If any Challenge or motion for stgnding, ak applicable, is timely and properly filed prior to the
expiration of the Initial Challenge Period, tht releases, stipulations and admissions contained in
this Interim Order, including without limitatiok, in the Stipulations, of this Interim Order, shall
nonetheless remain binding ard preclusive (as prvided in the second sentence of this paragraph)
on any Committee and any/other person, includig any Trustee appointed in any Chapter 11
Case(s) or Successor Casey, as applicable, except as toany such findings and admissions that were
expressly challenged in fhe original complaint initiating the adversary proceeding and excluding
any amended or addifional claims that may or could have been asserted thereafter through an

amended complaint/under FRCP 15 or otherwise. This 3 ipulation shall be binding upon the

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Debtors, their Estate\, all parties in interest in the Chapter IA Cases and their respective successors
and assigns, including ayy Trustee or other fiduciary gppointed in the Chapter 11 Cases or any
Successor Cases and shall repetition Secured Parties and the Debtors
and their respective successors\and assigns. For the avoidance of doubt, Challenges may be filed
against one or more of the Prepe\tion Secured Parties without filing Challenges against each of
the other parties and likewise the Shallenge Period may expire as to some but not all of the
Prepetition Secured Parties if a Challenlefs filed against one or more of the Prepetition Secured
Parties but not all of them.

(c) No Standing. Nothing in this Interim Order vests or confers on any person (as

limitation, any Challenge with fespect to the Prepetition Noan Documents or the Prepetition Secured
Obligations.

7. Debtors’ Waivers and Releases.
(a) Section SQ6(c) Claims and/552(b) Equities. Subject to entry of the Final
Order approving the Motion, no cdxts or expenges of administration which have been or may be
incurred in the Chapter 11 Cases or an\ Succéssor Cases at any time shall be charged against any
of the Prepetition Secured Parties, their resp£ctive claims or the Prepetition Collateral, pursuant to
section 506(c) of the Bankruptcy Code wifholt the prior written consent of the Agent (and no such
consent shall be implied from any othfr actior, inaction or acquiescence by the Agent or any
Lender). Subject to entry of the Final Order, the Pr&petition Secured Parties shall each be entitled

to all of the rights and benefits of se¢tion 552(b) of thaBankruptcy Code, and the “equities of the

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case” exception ukder Bankruptcy Code section 552(b) shall npt apply to the Prepetition Secured

Parties with respect to proceeds, products, offspring or profifs of any of the Prepetition Collateral.

(b)

consent to use of Cash Co\lateral and providing other/ financial accommodations to the Debtors

pursuant to the provisions of this Interim Order, each Debtor, on behalf of itself, and its respective
successors and assigns and such Debtor’s estate /(collectively, “Releasors”), subject only to
Paragraph 6 above, hereby absolutkly releases and fgrever discharges and acquits (1) each Prepetition
icipants, assigns directors, officers, attorneys,

Secured Party, (11) the respective Successors, p

employees, and other representatives df each Pr¢petition Secured Party, (iii) the present and former
shareholders, affiliates, subsidiaries, divisions,/and predecessors of each Prepetition Secured Party
(the parties identified in clauses (i) thrdugh (iii) being hereinafter referred to collectively as
“Releasees”) of and from any and all claimg{\demands, causes of action, suits, covenants, contracts,
controversies, agreements, promises, sumg of nyoney, accounts, bills, reckonings, damages, and any
and all other claims, counterclaims, crosg claims, \Jefenses, rights of set-off, demands, and liabilities

whatsoever (individually, a “Prepetitioh Released Claim” and collectively, “Prepetition Released

     
    
  

Claims”) of every kind, name, naturg/and description, known or unknown, foreseen or unforeseen,
matured or contingent, liquidated of unliquidated, primry or secondary, suspected or unsuspected,
both at law and in equity, which, fncluding, without limitat\on, any so-called “lender liability” claims
or defenses, that any Releasof may now or hereafter own\ hold, have, or claim to have against
Releasees, or any of them for, upon, or by reason of any natuke, cause, or thing whatsoever which
arose or may have arisen

any time on or prior to the date of this Interim Order, in respect of the

Debtors, the Prepetition/Obligations, the Prepetition Loan Documekts, and any Letters of Credit, or

 

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other financial accommodations Ander the Prepetition Lo ocuments; provided, that such release
shall not be effective with respect tdthe Debtors until gntry of the Final Order, and with respect to
the Debtors’ estates, until the expirationiof the Challgénge Period.
A. de C.V. (“Laguna”) and New Laguna LLC
(“New Laguna”) and any of its or their affiliatés reserve their rights, if any, against the Debtors and
their estates with respect to the Reserve AcCour Cash; provided, however, no rights are reserved,
either directly or indirectly, against the Pfepetition Gecured Parties, the Adequate Protection Liens,
any Prepetition Collateral, Collateral/or proceeds thereof, and (11) the Debtors and their estates
expressly acknowledge and agree that Laguna, New Laguya, any of their Affiliates and any guarantor
of any of their obligations shall ngt have any liability to any 4f the Debtors or their estates to replenish
the Reserve Account Cash orftherwise make payments in r&spect of any liability arising from or
related to the use of such Réserve Account Cash (including, without limitation, with respect to any
contractual indemnity oy guarantee).
ZB 6 , Budget; Reporting.

(a) No later than the Monday of each calendar week commencing on the first
Monday following the first full week after the Petition Date, the Debtors shall deliver to the
Agent and its counsel an updated Budget.

(b) The Debtors shall test the Budget on the Monday following the first four
(4) full weeks on a four-week trailing basis (each such four week period, the “Budget Period”)
and every other Monday thereafter. So long as no Termination Event has occurred with respect
to Cash Collateral, the Debtors shall be authorized (i) to use Cash Collateral, and (ii) to use the

Reserve Account Cash, in each case in accordance with the Budget and this Interim Order in an

amount that would not cause either (x) actual disbursements to be more than ten percent (10%) in

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excess of the disbursements included in the Budget for any Budget Period, or (y) actual receipts
(excluding asset sale proceeds other than ordinary course sales of inventory) to be more than ten
percent (10%) below the receipts (excluding asset sale proceeds other than ordinary course sales
of inventory) included in the Budget for any Budget Period; provided, however, that the ten
percent (10%) variances in the foregoing clauses (x) and (y) shall be twenty-five percent (25%)
with respect to milk products (each, a “Permitted Variance”).

(c) The Debtors shall provide the Agent and other Prepetition Secured Parties
with all reporting and other information required to be provided to the Agent under the
Prepetition Loan Documents. In addition to, and without limiting, whatever rights to access the
Agent has under the Prepetition Loan Documents, respectively, subject to existing confidentiality
agreements, upon reasonable notice, at reasonable times during normal business hours, the
Debtors shall permit representatives, agents, and employees of the Agent and other Prepetition
Secured Parties to: (i) have reasonable access to and inspect the Debtors’ assets; (ii) examine the
Debtors’ books and records, and (iii) discuss the Debtors’ affairs, finances, and condition with

the Debtors’ officers, attorneys, consultants, and financial advisors.

 
     
      
   
  
 

or otherwise dispose of any portion ef the Prepetytion Collateral or the Collateral outside of the
ordinary course of business, without the priof written consent of the Agent unless such sale,
transfer, lease, encumbrance or other disAgsition is approved by the Court and results in the
indefeasible payment in full in cash of tle Pr&petition Secured Obligations and, with respect to
any letters of credit, either replacemeft thereof ox the posting of Cash Collateral in the amount
of 105% of such letters of credit. Uhless otherwise agreed to by the Agent in writing, and except

as expressly provided herein, gil proceeds of any sale\or other disposition of the Prepetition

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Collateral or the Collateral shall be pat er to the Agent as and to the extent required by this
Interim Order and in accordance withthe Rrepetition Loan Documents.

MM: 4. Carve-Out. As used in this Interim Order, “Carve-Out” means all fees required
to be paid to the Clerk of the Court and to the U.S. Trustee pursuant to section 1930(a) of title 28
of the United States Code, plus interest at the statutory rate.

V. 8. Reservation of Rights. Notwithstanding anything herein to the contrary, the
Debtors reserve the right to argue that, to the extent that any cash payment made hereunder as
adequate protection to the Prepetition Secured Parties is not allowed under section 506(b) of the
Bankruptcy Code, such payment should be recharacterized and applied as payment of principal
owed under the Credit Agreement and shall permanently reduce the Prepetition Loan Obligations
accordingly, and the Prepetition Secured Parties reserve the right to object to any such argument.

Vz 9. Lien Perfection. This Interim Order shall be sufficient and conclusive evidence
of the validity, perfection and priority of the Bank Product Liens and Adequate Protection Liens
without the necessity of filing or recording any financing statement, deed of trust, mortgage, or
other instrument or document which may otherwise be required under the law of any jurisdiction
or the taking of any other action to validate or perfect the Bank Product Liens and Adequate
Protection Liens or to entitle the Bank Product Liens and Adequate Protection Liens to the
priorities granted herein. Notwithstanding the foregoing, the Agent (on behalf of itself and the
other Prepetition Secured Parties) may, in its sole discretion, file such financing statements,
mortgages, security agreements, notices of liens and other similar documents, and is hereby
granted relief from the automatic stay of section 362 of the Bankruptcy Code in order to do so,
and all such financing statements, mortgages, security agreements, notices and other agreements

or documents shall be deemed to have been filed or recorded at the time and on the date of the

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commencement of the Chapter 11 Cases. The Agent (on behalf of itself and the other Prepetition
Secured Parties) may, in its sole discretion, file a photocopy of this Interim Order as a financing
statement with any recording officer designated to file financing statements or with any registry
of deeds or similar office in any jurisdiction in which any Debtor has real or personal property
and, in such event, the subject filing or recording officer shall be authorized to file or record such
copy of this Interim Order.

Z. /0. Termination Events. The Debtors’ right to use Cash Collateral shall automatically
terminate (the date of such termination, the “Termination Date”), without further notice or court
proceeding, on the earliest to occur of any of the events set forth below (each such event, a

“Termination Event”), in each case unless waived in writing by the Agent:

(a) January 23, 2020;

 

( Gyenty of an order of this Court terminating Debtors’ right to use Cash
Collateral;
Sh (¢}) the termination ernon-cerrsensuatmodifieation of this Interim Order or the
failure of this Interim Order to be in full force and effect;
ke ( d) failure of the Debtors to abide by the terms, covenants, and conditions of
this Interim Order or the Budget;

“ay (e)the use of Cash Collateral for any purpose not authorized by this Interim

Order;

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TS (f the dismissal of any of these Chapter 11 Cases, the conversion of any of
these Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code, or the appointment in
any of these Chapter 11 Cases of a trustee or examiner with expanded powers; or

<(——ar~-ordex-of the-Court-ts-entered-fother than the Final Order) reversing,
staVing, Vacating, OF Olhierwist modifying in any material respect the terms ofthis Interim Oftler.

 

- ]].- Letters of Credit. The existing Letters of Credit issued under the RCF Facility
prior to the Petition Date shall be subject to the same rights and obligations of the parties as in
effect prior to the Petition Date, in each case subject to the terms of the Credit Agreement and the
other Prepetition Loan Documents. To the extent any Letters of Credit are drawn as permitted
under the Credit Agreement, the L/C Issuer (as defined in the Credit Agreement) is authorized,
and the automatic stay is modified, to apply any cash collateral it is holding to satisfy the Debtors’
obligations under the applicable Letter of Credit.

_ | 2> Miscellaneous.

(a) Binding Effect. The provisions of this Interim Order, including all findings
herein, shall be binding upon all parties in interest in the Chapter 11 Cases, including, without
limitation, the Prepetition Secured Parties, the Debtors, and their respective successors and assigns
(including any trustee hereinafter appointed or elected for the estate of any Debtor, an examiner
appointed pursuant to section 1104 of the Bankruptcy Code, or any other fiduciary appointed as
a legal representative of the Debtors or with respect to the property of the estate of any of the
Debtors) and shall inure to the benefit of the Prepetition Secured Parties and the Debtors and
their respective successors or assigns.

(b) Modification of Automatic Stay. The Debtors are authorized and directed

to perform all acts and to make, execute and deliver any and all instruments as may be reasonably

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necessary to implement the terms and conditions of this Interim Order and the transactions
contemplated hereby. The automatic stay of section 362 of the Bankruptcy Code is hereby
modified to permit the Debtors and each of the Prepetition Secured Parties to accomplish the
transactions contemplated by this Interim Order.

(c) Headings. The headings in this Interim Order are for purposes of reference
only and shall not limit or otherwise affect the meaning of this Interim Order.

(d) Effectiveness. This Interim Order shall constitute findings of fact and
conclusions of law and shall take effect immediately upon entry hereof, and there shall be no stay
of execution of effectiveness of this Interim Order. To the extent that any finding of fact shall be
determined to be a conclusion of law, it shall be so deemed and vice versa.

(e) No Third Party Rights. Except as explicitly provided for herein, this Interim
Order does not create any rights for the benefit of any third-party, creditor, equity holder or any
direct, indirect, third-party or incidental beneficiary.

(f) Survival of Interim Order. The provisions of this Interim Order and any
actions taken pursuant hereto shall survive entry of any order which may be entered (i) confirming
any chapter 11 plan of reorganization in the Chapter 11 Cases, (11) converting any of the Chapter 11
Cases to a case under chapter 7 of the Bankruptcy Code, (iii) to the extent authorized by applicable
law, dismissing any of the Chapter 11 Cases, (iv) withdrawing of the reference of any of the Chapter
11 Cases from the Court, or (v) providing for abstention from handling or retaining of jurisdiction
of any of the Chapter 11 Cases in the Court.

(g) Controlling Effect of Interim Order. To the extent any provision of this
Interim Order conflicts or is inconsistent with any provision of the Motion, the provisions of this

Interim Order shall control to the extent of such conflict.

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(h) Order Immediately Effective. Notwithstanding Bankruptcy Rule 6004(h),
the terms and conditions of this Interim Order are effective immediately and enforceable upon its
entry.

(i) Debtor Authorization to Effectuate Relief. The Debtors are authorized to
take all actions necessary to effectuate the relief granted in this Interim Order in accordance with
the Motion.

(j) Exclusive Jurisdiction. This Court retains exclusive jurisdiction with
respect to all matters arising from or related to the implementation, interpretation, and enforcement

of this Interim Order.

 
   
 
   
 
  
 

10. Proofs of Naim. Notwithstanding thd entry of an order establishing a bar date in
any of these Chapter 11 Case, or the conversion of fhese Chapter 11 Cases to a case under chapter
7 of the Bankruptcy Code, the Rrepetition Secuyed Parties shall not be required to file proofs of
claim in any of the Chapter 11 Casks or any Sufcessor Cases with respect to any of the Prepetition
Obligations, Adequate Protection Obligatiopis, Adequate Protection Liens, Bank Product Liens,
Adequate Protection Superpriority Claith, gr any other claims or liens granted hereunder or created
hereby. The Agent, for the benefit of the\pther Prepetition Secured Parties, is hereby authorized
and entitled, in its sole and absolute discreon, but in no event is required, to file (and amend
and/or supplement, as it sees fit) probfs of clain in each of the Chapter 11 Cases on behalf of all
of the Prepetition Secured Parties if respect of thk Prepetition Obligations. Any proof of claim so
filed shall be deemed to be in addftion and not in lidy of any other proof of claim that may be filed
by any of the Prepetition Securéd Parties. Any order entered by the Bankruptcy Court in relation

to the establishment of a bar date in any of the Chapter \1 Cases will so provide.

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11. Final Hearing. The final hearing (the “Final Hearing”) on the Motion shall be
held on January 23, 2020, at 1:00 p.m., prevailing Eastern Time. The Debtors shall, on or before
January 10, 2020, mail copies of a notice of the entry of this Interim Order, together with a copy
of this Interim Order and a copy of the Motion, to the parties having been given notice of the
Interim Hearing, to any party that has filed prior to such date a request for notices with this Court,
and to counsel for the Committee, if any, and any other statutory committee of unsecured creditors
appointed pursuant to section 1102 of the Bankruptcy Code. Any obj ections or responses to entry
of a final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on
January 16, 2020, and shall be served on: (a) the Debtors, Borden Dairy Company, 8750 North
Central Expressway, Suite 400, Dallas, Texas 75231, Attn: Jason Monaco; (b) proposed counsel to
the Debtors, Arnold & Porter Kaye Scholer LLP, 70 West Madison Street, Suite 4200, Chicago,
Illinois 60602, Attn: Tyler Nurnberg, Seth Kleinman, and Sarah Gryll; (c) proposed co-counsel to
the Debtors, Young Conaway Stargatt & Taylor, LLP, Rodney Square, 1000 North King Street,
Wilmington, Delaware 19801, Attn: M. Blake Cleary; (d) counsel to ACON Dairy Investors,
L.L.C., Hogan Lovells US LLP, 390 Madison Avenue, New York, New York 10017, Attn:
Christopher Donoho III; (e) counsel to New Laguna, LLC, Dechert LLP, Three Bryant Park, 1095
Avenue of the Americas, New York, New York 10036, Attn: Brian Greer; (f) counsel to the Agent,
RCFE Facility Lenders, and Term Loan A Facility Lenders, Blank Rome LLP, 1201 N. Market
Street, Suite, 800, Wilmington, Delaware 19801, Attn: Regina Stango Kelbon; (g) counsel to the
Term Loan B Facility Lenders, King & Spalding LLP, 1185 Avenue of the Americas, 34" Floor,

New York, New York 10036, Attn: Roger Schwartz; (h) counsel to any statutory committee

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appointed in these cases; and (i) the Office of the United States Trustee, 844 King Street, Suite

2207, Lockbox 35, Wilmington, Delaware 19801, Attn: Timothy Fox, Jr..

Dated: ferns F 2020 (YY SL

ilmington, Delaware CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

 

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EXHIBIT 1

BUDGET
 

 

 

 

 

 

 

 

 

 

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LL €89'L ¥96'9 (09D STZ (829°e) tore (2¢9'6) OLL'L (g8'L) 708'S (pes) 198'6 (zs9%er) | eez‘er aqepeay Moy yseD 19N
o Corbet) laelen  \G@izze |[weo'sd |Cozse) [Gre  |(zt6e'ez) |[Cosett)  |(zov'oz) [(so0'et) (zsezz) ~—[(o0'or) = [Ceze'ee) | (uab‘e) MOTANG YseD [eo],
o (osz‘e) (osz) (sd) (osz) (os@) (ose) (osz) (ose) (ose) (ose (osz) (os@) sz) se) Xd VO eouewsureyw
oO (es9ee) Jo 0 0 0 0 0 0 0 (ooel) (oz8‘6) ose) (coz‘eD) | s8"D) swe (6)(q)c0s 130.
oO (pictor) ‘| 6161) (on9's) (Coe) Gzz'9) se) oor) (Gore) (piss) Gis‘) (219) LLY) (oc1‘9) @zz‘e) (sexes ouq) youseg
a seed = [19° Corre) | roe'a) (o9¢'9) (86°?) @s'st) = od (sez) — | eer") (48's) 0 0 0 (sisnay, Oy ‘Pxa) susuteg ATW
(ooz‘rot) | (re'L) (bi6'L) (€zo's) (s80°8) (ests) (z60°8) (1z6°L) (uu) (zs¥'L) (18's) (L6p‘9) (ove‘s) (ir'zD squawassngsiql ATW-UON [e301
Be Gos") 0 0 0 0 0 0 0 0 (oor) (ea) (ea) €¢2) (or) squsuideg peadey Faypery,
OQ (oer) (28) (gg) (38) (68) (oe) (8) (ea) (9) gD 9) 69) 8) zu JaHIO HV
oO (ser'9) (60) oo) (top) (ror) (304) (Sor) Ooo) (ose) «s¢) (82) cro) Gor) (98s) sjeworssajorg Fupmionysoy-uony
ao (lel) — | zo) zo) (ge) (eo) (9¢0) Geo GIo (G68) (819) s9) zo Oro sel) SITU] 2 SIXYT,
8 is‘oD ~—| (818) (129) (928) (ea) (ova) (cea) 18) Gon oz (18s) Gr9) (Gea) (oz'D) SISO ApoENy 2p 92uvUaETE YY SUE
a Goes) |@zi'D (ost) sip Gord (g0e'D) eid) (ez) Cri) (bo'D eg) (zo) (ooe'D eel) uodsuriy 7 uoRNQuIsig
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Les‘Tlz 969°6E PI8'Sz 88°61 €68'61 9F6‘6T SLZ‘6L 9ST‘6L ¥00°6T O18‘8T LLS‘61 898‘61 16207 0zL0E (sasnzy, Ny Px2) sidresay
00°91 000°9 G00'OL yunosoy JUsUNsaauy Woy VOANGINUED
1892'S 19€ ZLOL 089°9 €€C'EL 6r6'1 809'81 es9'r 99€'91 68'S 1100 ses‘e Log‘sz 182°S aiquleay aoureg yse_ Supuurdag

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Mol SLMS «ZINA MAGN OFNSUA 6 MAGA SNAGM LATA OMAAN SMSO PNRM 6CMOEA TMA LSS PEA
a4 WIN-OZ lay eae Aaa ae) PAT Cor aia as mal Oar vary id x4 avf-7y a es INGA

  

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